4:04-cr-03128-JMG-CRZ         Doc # 78     Filed: 12/28/05    Page 1 of 1 - Page ID # 228



                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )           4:04CR3128
              Plaintiff,                     )
                                             )           MEMORANDUM
       vs.                                   )           AND ORDER
                                             )
MARK SCHNEIDER,                              )
                                             )
              Defendant.                     )

       The Court has been advised that the defendant requests permission to enter a plea of
guilty. The Court is further advised that the defendant will consent to Judge Piester
conducting the hearing on the plea of guilty.
       IT IS ORDERED that:

       1.     This case, insofar as it concerns this defendant, is removed from the trial
              docket based upon the oral motion of the defendant that is granted.
       2.     A hearing on the defendant’s anticipated plea of guilty is scheduled before
              Magistrate Judge Piester on the 4th day of January, 2006 at the hour of 3:30
              p.m.
       3.     On or before the date for the plea proceeding, counsel for plaintiff and for
              defendant shall provide to the assigned probation officer their respective
              versions of the offense for purposes of preparing the presentence investigation
              report.
       4.     For this defendant, the time between today’s date and the hearing on the
              anticipated plea of guilty is excluded for purposes of computing the limits
              under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B)
       Dated December 28, 2005.
                                                 BY THE COURT:
                                                 s/ David L. Piester
                                                 ______________________________
                                                 United States Magistrate Judge
